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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


Kevin Borowske, individually and
on behalf of all others similarly situated,
and the proposed Minnesota Rule 23 Class,
                                                       Case No. 0:20-cv-01564-ECW
               Plaintiffs,

v.

FirstService Residential Minnesota, Inc.,

               Defendant.


      PLAINTIFF’S UNOPPOSED MOTION FOR FINAL APPROVAL OF
                             SETTLEMENT
________________________________________________________________________

       Plaintiff Kevin Borowske, individually and on behalf of others similarly situated,

moves the Court to grant Plaintiff’s Unopposed Motion for Final Approval of Settlement.

The grounds for this motion are set forth in the supporting memorandum, declaration, and

exhibits filed with it.


 Dated: July 12, 2021                         NICHOLS KASTER, PLLP

                                              /s/ Kayla M. Kienzle
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